Case 1:14-cr-00098-IMK-MJA Document 115 Filed 06/03/15 Page 1 of 4 PageID #: 326



                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                   Plaintiff,

       v.                                 CRIMINAL NO. 1:14CR98-2
                                               (Judge Keeley)


 TIMOTHY CAVENDER,

                   Defendant.

           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
          OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
       GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

       On May 18, 2015, the defendant, Timothy Cavender (“Cavender”),

 appeared before United States Magistrate Judge John S. Kaull and

 moved for permission to enter a plea of GUILTY to Count Four of the

 Second Superseding Indictment. Cavender stated that he understood

 that the magistrate judge is not a United States District Judge,

 and consented to pleading before the magistrate judge.           This Court

 had referred the guilty plea to the magistrate judge for the

 purposes of administering the allocution pursuant to Federal Rule

 of Criminal Procedure 11, making a finding as to whether the plea

 was knowingly and voluntarily entered, and recommending to this

 Court whether the plea should be accepted.

       Based upon Cavender’s statements during the plea hearing and

 the testimony of West Virginia State Police Officer John Wayne

 Smith, the magistrate judge found that Cavender was competent to

 enter a plea, that the plea was freely and voluntarily given, that
Case 1:14-cr-00098-IMK-MJA Document 115 Filed 06/03/15 Page 2 of 4 PageID #: 327



 USA v. TIMOTHY CAVENDER                                           1:14CR982

           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
          OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
      GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

 he was aware of the nature of the charges against him and the

 consequences of his plea, and that a factual basis existed for the

 tendered plea. On May 19, 2015, the magistrate judge entered an

 Opinion/Report and Recommendation Concerning Plea of Guilty in

 Felony Case (“R&R”) (dkt. no. 98) finding a factual basis for the

 plea and recommended that this Court accept Cavender’s plea of

 guilty to Count Four of the Second Superseding Indictment.

       The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R. The magistrate judge further directed that

 failure to file objections would result in a waiver of the right to

 appeal from a judgment of this Court based on the R&R. On May 20,

 2015, the government, by Assistant United States Attorney Shawn A.

 Morgan (“Morgan”), responded to the R&R stating the government had

 no objection (dkt. no. 102). Cavender did not file any objections

 to the R&R.

       Accordingly, this Court ADOPTS the magistrate judge’s R&R,

 ACCEPTS Cavender’s guilty plea, and ADJUGES him GUILTY of the crime

 charged in Count Four of the Second Superseding Indictment.

       Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until it

                                       2
Case 1:14-cr-00098-IMK-MJA Document 115 Filed 06/03/15 Page 3 of 4 PageID #: 328



 USA v. TIMOTHY CAVENDER                                           1:14CR982

           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
          OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
      GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

 has received and reviewed the presentence report prepared in this

 matter.

       Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

 follows:

       1.    The    Probation     Officer     undertake     a    presentence

 investigation of TIMOTHY CAVENDER, and prepare a presentence report

 for the Court;

       2.    The Government and Cavender are to provide their versions

 of the offense to the probation officer by June 17, 2015;

       3.    The presentence report is to be disclosed to Cavender,

 defense counsel, and the United States on or before August 3, 2015;

 however, the Probation Officer is not to disclose the sentencing

 recommendations made pursuant to Fed. R. Crim. P. 32(e)(3);

       4.    Counsel may file written objections to the presentence

 report on or before August 17, 2015;

       5.    The Office of Probation shall submit the presentence

 report with addendum to the Court on or before August 31, 2015; and

       6.    Counsel may file any written sentencing statements and

 motions for departure from the Sentencing Guidelines, including the




                                       3
Case 1:14-cr-00098-IMK-MJA Document 115 Filed 06/03/15 Page 4 of 4 PageID #: 329



 USA v. TIMOTHY CAVENDER                                                1:14CR982

           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
          OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
      GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

 factual     basis    from    the   statements    or   motions,   on   or   before

 September 14, 2015.

       The magistrate judge remanded Cavender to the custody of the

 United States Marshal Service.

       The    Court    will    conduct    the    sentencing   hearing    for   the

 defendant on Monday, September 28, 2015 at 1:30 P.M. at the

 Clarksburg, West Virginia point of holding court.

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to

 counsel of record, the defendant and all appropriate agencies.

 DATED: June 3, 2015


                                         /s/ Irene M. Keeley
                                         IRENE M. KEELEY
                                         UNITED STATES DISTRICT JUDGE




                                           4
